Case 1:98-cv-00817-JDS Document 68-30 Filed 01/10/05 Page 1 of 15

SPEED HEADACHE ASSOCIATES, P.A. . . /

NAME: Ana MARIE pro éEnittan Headache Consultants MEDICATIONS (those esed
aa3 11 East Chase Street when headache is present; identify L.
YEAR: WAN Baltimore, Maryland 21202 single letter symbol). When enedication
Office (301) 727-1615 is used, these symbols are placed in
Home (301} 433-4240 headache box and a number after them
BEGINNING . to identify how many pills you took.
DATE EACH . P = Phew
WEEK = MON. TUES. WED. THURS. FRI. SAT. SUN. ~ VINE NER G And
/ 1 Ie (CX RQ : T= Turreex
q ee eye. Prstte,.
; 7 KEY FOR HEADACHE INTENSITY
[ S ®= Severe incapacitating headache

X = Severe headache (not incapacitating

7, . @ = Moderate headache
a | © = Mild or annoying headache

‘hg KEY FOR HEADACHE DURATION

— = More than I day

4 t = 8B hours to | day
Vee, . . += 4to8 hours
: 4 = Ito4 hours
Br O “ae > = Less than | hour
Aa M, KA MA MA Mw. M = Menstrual days
Jy [OR [XO [On [Oe PIE Ele
daily whether or not headache ia present)

Please list below name, strength of tablet

DO NOT symbolize or list in
% C. : | headache box.
'c.

3 ® le O and how you are taking it:
3 M M "

@ uM ot

Be M M

9 . .

/6

4]

: x i
ho tf here

Case 1:98-cv-00817-JDS Document 68-30 Filed 01/10/05 Page 2 of 15

SPEED HEADACHE ASSOCIATES,

P.A.

NAME: Aon MARE (MOC Ett) Headache Consultants’
“. 1Qqa. 11 East Chase Street —
YEAR: A. Baltimore, Maryland 21202 ,
Office (301) 727-1615
Home (301) 433-4240
BEGINNING
DATE EACH
‘WEEK MON. TUES. WED. THURS. FRI. SAT. SUN.
r /, a
‘a M M iM. AA eu! “V"
f o
°/ y 6,
5: :
hn @ Fax -rPHE
2 5 ; M M_* KA WA,
eo { { ,
15 @ IiTé @ i }e iT
— Steomhacy vi ekhes c--.-
yt @ 2.P ® @ \T
[ | \P
+ <—— ~srimeSi_v tw
h
/8
4 \P r iP
Ie © \ eo y' On
M_ MLA NA
"lon MA
!
"ha
4, O,2P
+) . SY NM LI KA
ef, GQ 1=° XY IP tol 3
M —P

MEDICATIONS (those used el;

when headache is present; identify
single letter symbol). When medicatior
is used, these symbols are placed ir
headache box and a number after then
io identify how many pills you took.

KEY FOR HEADACHE INTENSITY

® = Severe incapacitating headache

X = Severe headache (not tncapacitatin,
@ = Moderate headache

O = Mild or annoying headache

KEY FOR HEADACHE DURATI

++ = More than | day
t = Bhoursto I day

- = 41to 8 Hours

+ = 1 to 4 hours

+ = Less than I hour

M = Menstrual days

EADACHE MEDICATIONS (Take:
daily whether or not headache is present

DO NOT symbolize or list in
headache box.

Please list below name, strength of table
and how you are taking it:

?

Fe FLL SitoT/

Sve neAcu rol

r= Phene RecAn Sag

TL- TwiTKe«
NAME: ANA MAgiE Moe ena

Headache Consultants
(1 East Chase Street

SPEED HEADACHE ASSOCIATES, P.A.

YEAR: 1493 Ballimore, Maryland 21202
Office (301) 727-1615
Home (301} 433-4240
io BEGINNING
“1 DATE EACH
o WEEK MON. TUES. WED. THURS. FRI. SAT. SUN.
© In
° ("hs
wo | |] x »~
4+ >
3 > ‘NS >.
S "uy AS or R
@
iL \ ©
2 \6 <—
0 " @ ©) ®
= 2S <- NM wm STR 28
®
El + | ®@ ‘ @ @
3 / M * 3 “a un >
a
} \
y | le © os Lo © Le |@ xe
a < =—
ry
' Lu
s | “ee V|*< 4 e.
oO —
7 - Aas oF = " 7
2 fa |< |G AYE. @ A |x +9 (@ 26
° x x 16 is |@, '*|@ @
fh tet Oy *« t | *
© ° °
O 3 OA xX. @ |
4 @ ‘ I Xm p Oo f
3 x Loge 28
(‘Ss « | $7 2°
ar oS
STem age vi rus

MEDICATIONS. (those used or’ |

when headache is present; identify by
single letter symbol). When medication
is used, these symbols are placed in
headache box and a number after them
to identify how many pills you took.

® = Severe incapacitating headache
X = Severe headache (not incapacitating
@ = Moderate headache

O = Mild or annoying headache

KEY FOR HEADACHE DURATION

> = More than | day
t 8 hours to I day
+ = 4(0 8 hours

$ | to 4 hours

+ = Less than | hour

M = Menstrual days

daily whether or not headache ia present)
DO NOT symbolize or list in

headache box.

Please list below name, strength of tablet
and how you are taking it:

P= PHEN € 2GA)
NAME: Any Mage mocensne)

SPEED HEADACHE ASSOCIATES, P.A.

Headache Consultants”
11 East Chase Street

YEAR: 1443 Baltimore, Maryland 21202
Office {301 727-1615
- . Home (301) 433-4240
BEGINNING ¢: *, , .
io DATE EACH 7
= WEEK MON. TUES. WED. THURS. FRI. SAT. SUN.
+t 3 @ 2p @ ip, .
o | fr . eo
° 1 S+orkach Virus v > <— I
g ; ; =
. Ye Xn? e@ @ Io @ \F 4! ”
8 <— = <__—__}> Seo€t =hHe4
3 Ua Ske a! re .
s Ske nac NL@us s]_. —_> A A My,
Oo 7 2P
i 19 An ® t
< <-|>> ’
© iP
° 1%, |@ J Or On .
& . . STOMACH in BUS
5 7, <hLoa Diaz ée mei pe/e rd Ve
& Jj —_SoMacy vitus
D> .
Oo
Oo
a | %. — C CASS won rere -
W) —_—- MM MA M AA
2 1% ° x ze|@xurle te
s {o <—}? <-> *
Sis
S| %y Cd ASS |X oH
® % O “PIO 4° ne [x
+ 3 < < <—7
Y
"G .
8 ye 4 :
¢ / .
j}—
6 uy ‘ i if
Jw *

Puy)

. :
MEDICATIONS (those used on!
when headache is present; identify by
single letter symbol). When medication
is used, these: symbols are placed in
headache box and a number after them ©
to identify how many pills you took.

KEY FOR HEADACHE INTENSITY

® = Severe incapacitating headache

X = Severe headache (not incapacitating
@ = Moderate headache

O = Mild or annoying headache

KEY FOR HEADACHE DURATION

++ = More than I day
t = Bhours to I day
+ = 4108 hours

4 = 1! to 4 hours

~ = Less than | hour

M = Menstrual days

daily whether or not headache Is present)

DO NOT symbolize or list in
headache box.

Please list below name, atrength of tablet
and how you are taking it:
&,

Case 1:98-cv-00817-JDS Document 68-30 Filed 01/10/05 Page 5 of 15

Raadou ™ ° 46.
Ly ween [ORES p On

DdRyYL
«£4 Ve

ney : SPEED HEADACHE ASSOCIATES, P.A. 27
NAME: _Anw Moc é Nit) - Headache Consultants’ MEDICATIONS (those used‘ Idnly
q . 1) East Chase Street when headache is present; identify by
YEAR: 1Adv Baltimore, Maryland 21202 single letter symbol), When mediqajio.
Office (301) 727-1615 is used, these symbols arg placed in
o, i EG, Home (301) 433-4240 headache box and a number after them
BEGINNING - to identify how many pills, yoy. \onk.”
DATE EACH ioe ft ACT
WEEK MON. TUES. WED. THURS. FRI. SAT. ’ SUN. 1a
x 4 .
4 ly VY Poppi . 1
@ : Oo ry So “ KEY FOR HEADACHE INTENSITY’
ie] s N 2% A A , ®-= Severe incapacitating headache
= <== X = Severe headache (not incapacitating)
jo 2 (x) x Fee“ Ls ‘we! ‘- XR @ = Moderate headache :
mn |e <1 Sip grt O = Mild or annoying headache
1° | 4 KEY FOR HEADACHE DURATION
++ = More than I day
, t = 8 hours to I day |
fon + = 4to 8 hours
: - $ = 1 to.4 hours
Me - oO xX cys any ~+ = Less than I hour
< <_ M = Menstrual days
u 2@
l, © © oO, HEADACHE MEDICATIONS (Taken
M Mo? TIA Ms MA daily whether or not headache is predent)
fou ys : DO NOT aymbolize or list in
V 1E . >< 76 x * 26 " headache box. !
“a Please list below name, strength of tablet
Mt d how you are taking it: ,
VW = | @y)28}On. JO " |
23 y 4 + !
3 t M !
{

@)

Case 1:98-cv-00817-JDS Document 68-30 Filed 01/10/05, Page 6 of#15

, SPEED HEADACHE ASSOCIATES, P.A.
NAME: ANN _ MAgIE. Moe EnuAs) Headache Consultants
- Tl East Chase Street
YEAR: 1993 Baltimore, Maryland 21202
Office (301) 727-1615
Home (301} 433-4240
BEGINNING |
DATE EACH
WEEK MON. TUES. WED. THURS. FRI. SAT. SUN.
Inv
he
‘] x x
+ “AN ats
e @ .
"Nu AS 4 R
ly &
18 <—
\
/ @ &) ®)
us < MM wm Oo STRA 2
~
(ee *_<*— i$
2 ~“ © > AP @ “Ae
/¢ © iS _ | <5 fa
“hs ~<MPlrs eo,
AS ! .
2 x © ead jG APIX +9 e 2B
3 x 16 ( \6|@ @
3,0

a
~~ + 6

MEDICATIONS (those used ~:

when headache is present; identi, ,
single letter symbol). When medicati
is used, these symbols are placed

headache box and a number after the
to identify how many pills you took

KEY FOR HEADACHE INTENSITY

® = Severe incapacitating headache
X = Severe headache (not incapacitat:
@ = Moderate headache

© = Mild or annoying headache

KEY FOR HEADACHE DURATION

++ = More than J day
t 8 hours to | day
4 to 8 hours

I to 4 hours

Less than’! hour

$
—~
M

Menstrual days

HEADACHE MEDICATIO (Tak
daily whether or not headache ie preac.
DO NOT symbolize or list in

headache box.

Please list below name, strength of tal.
and how you are taking it:

P= PHEN E eGo)

NAME: Anw MAGE Mmogentads

SPEED HEADACHE ASSOCIATES, P. A.

Headache Consultants’
(ft East Chase Street

_ KEY FOR HEADACHE INTENSITY

YEAR: _!49>~ Baltimore, Maryland 21202
* Office (301) 727-1615
‘Home (301) 433-4240
BEGINNING
© DATE EACH
S WEEK MON TUES. WED. THURS, FRI. SAT. SUN.
o| A | o | S |@ 26
° y y ei a “
3 | ej
& oe ”
Q mse LT <=
3 1 13 °. 2S. © <1 8 e ~
3 ,& M_ NA NM yw
Z| y , Wa 18] O
he ‘ * J
@ AA %
1 1% +
© hy & *
e Sacer.
DO] 2
E 7;
A ‘he e L oe) 4 ct
a MA M A
\ x vv
n 14 * J ° \8 © * e
SS M M v v <-> Vv
Oo
g X @ ‘"
o : y
00
3 e : ® e
oo
@ he t Vv * at v 40
S)3 ®@ oO O:; |e $$ |@. co
! (9. 19 »
4 yh y= vy = Ly Vv Vom tw
ny .
A WN M M KA =i
ey 3 Le ‘
hp) As

‘

MEDICATIONS (those used sdnly
when headache is present; identify by a
single letter symbol). When mediqation
is used, these: symbols aie placed In
headache box and a number after them
to identify how many pills yoy tag.

® = Severe incapacitating headache
X = Severe headache (not incapacitating)
@= Moderate headache
O = Mild or annoying headache

KEY FOR HEADACHE DURATIO

+» = More than I day
ft = Bhoursto | day
+ = 4108 hours’

$ = | to 4 hours

> = Less than | hour

M = Menstrual days 1
VE vieus ° |
HEADACHE MEDICATIONS (Taken
dally whether or not headache |e predent)
DO NOT symbolize or tiat in

headache box.

Please list below name, strength of tablet
and how you are taking it: ;

* Bataout

-
a . SPEED HEADACHE ASSOCIATES, P.A. r,
MOG End broad

11 East Chase Street MEDICATIONS (those used only .
J East Chase otree when headache is present; identify by 1
YEAR: (29 2- Baltimore, Maryland 21202 single letter symbol). When medication —
, Office (301) 727-1615 , is used, these symbols are placed in
Home (301} 433-4240 headache box and a number after them
BEGINNING to identify how many pills you took.
DATE EACH
WEEK MON. TUES. WED. — THURS. FRI. SAT. SUN.
3 .
4 o , : "st

4 xn>* | @
é x
t t ®=« Severe incapacitating headache
X = Severe headache (not incapacitating)

@

nA,
‘ &, @ V: = Moderate headache
ty @ aN 4 4 @& @= Mod headach

4 O = Mild or annoying headache

KEY FOR HEADACHE DURATIO

<> = More than J day
t = 8 hours to | day

e. + ® 4108 hours
MW
@

<<

°

th @,~*

{ = 1to4 hours
> Less than J hour

Case 1:98-cv-00817-JDS Document 68-30 Filed 01/10/05 Page 8 of 15

S 5 M wM M = Menstrual days
S \ .
/\ hs wt ° + \e- HEADACHE MEDICATIONS (Taken
Ww RA KA daily whether or not headache is present)
qo DO NOT symboli list i
Sy Y . ® <— headache box, “oe
Please list below name, atrength of tablet
S . T" O { T and how you are taking it:
/ x /. os
2s pe Dy 76 C— Cried ~ STHAc,
io 2.8 x 1G
j, |OMY@n [On 1 os °
Vv Y v v Mv M NA
C @, |e, leo le .
I NA hs avi chyl|~ tev| ted
L lis @ ‘ @ ee Ci? lo STAer sree ¥
eTy | ctv @ NO) SA le
é or. ~
@ “laa . ®) att BD erage ee

SPE

ED HEADACHE ASSOCIATES, P.A.

NAME: ANN MoG 2a) Headache Consultants
11 East Chase Street
YEAR: —1942. Baltimore, Marytand 21202
‘ >» Office (301) 727-1615
Home (301) 433-4240
10 BEGINNING
— DATE EACH
5S WEEK MON. TUES. WED. THURS. FRI. SAT. SUN.
® “lia e
gS MA M A Mw STM
2} @ , 26 °
S g Vc
cl =
a , Ty © . ® vy @ e@ \G
= |! ar |e eit art
iL 1,
© ap
S| 4
8 lq 3
Cc
O
2) 6 lm @ f @-< @ ¢
3 ls Sve) JI8 1 Ait
Q ty
wn a
Cc (T
2 | Xie |e, jes fe *A)
e{| h, |@ 9 x ‘ 6,
3 MA. Mw MW v
7 ", O ©
Mw .
G
O Vf 4
We
a
We,

'

a

{3

MEDICATIONS (those used onl .

when headache is present; identify by t

single letter symbol). When medication .

is used, these symbols are placed it
headache box and a number after then
to identify how many pills you took.

KEY FOR HEADACHE INTENSITY

® = Severe incapacitating headache

X = Severe headache (not incapacitatin;
@ = Moderate headache

© = Mild or annoying headache

KEY FOR HEADACIE DURATIO

—~ = More than | day
t = Bhoursto J day
4 to 8 hours.

= | to 4 hours

= Less than | hour

-— 2

Zz +o

= Menstrual days

HEADACHE MEDICATIONS (Taken

daily whether or not headache {a present’

DO NOT symbolize or list in
headache box.

Please list below name, strength of tablet
and how you are taking it:

R- WA 7
3
+»

dA poet nnn
NAME: 4r~ M06 Eastern

SPEED HEADACHE ASSOCIATES, P.A.

Headache Consultants
{t East Chase Street

YEAR : 499) Baltimore, Maryland 21202
ae (BN 2
ome .
BEGINNING
“| DATE EACH
° WEEK MON. TUES. WED. THURS FRI. SAT. SUN.
» 14 || 6 © x ©
: po“ J :
10 . TP aA |x -- IO xX, x
S ° coe ‘ | ay “} : wy
o ly : \ ®) <2 ft .G po”
5
2 lo, ea <— (WA 7k & ¥ 9
= fin, [@ fe —[el |e [84
o — ~
© is 1 @ oO @ o
s | lF, [Oe [Lt LO ae 1On | On
Cc
© h ®@ x AB @ 78 ~ 3
5 {| ls eto <4 <
5 x
; "ha * , OU
5 "hy | @ “ @
a . —S <—
8 jw. l@ as OF |B A |O; 2610) 28 | *A44
7 NA NA RA a
& ‘y ‘Oo
ai L
§ o
hw
STs ye
2 . © JB ®
(¥) Ne A > MW x
=

a

“MEDICATIONS ‘(those used+¥->
when headache is present; identify ._
single letter symbol). When medidatior
is used, these symbols are placed is:
headache box and a number after them

to identify how many pills Ypu lank.
rode. td A

Al ' que

® = Severe incapacitating headache
X = Severe headache (not Incapacits thny
@ = Moderate headache ,
'-©= Mild or annoying headeche

fy FOR HEADACHE D

++ = More than | day
ft = 8hours to! day
+ = 4 to 8 hours

4 = !to4 hours

+ = Less than | hour

t

M = Menstrual days

HEADACHE MEDICATIONS (T4ken
daily whether or not headache is present)
DO NOT symbolize or list in

‘+ * headache box. * -

Please list below narne, strength of tablet
and how you are taking it;

10/9 Bes Feeygack srmared
u/s Seayreol EIA LR.

al] eerie Tene racin \
TS nag,

lu [i> bet Lo :

Theat J Fevee /yraide!
Cova

(

(NAME: Ann MARE Meg Eni)

SPEED HEADACHE ASSOCIATES, P.A.

Headache Consultants’
11 East Chase Street

YEAR: _149>~— Baltimore, Maryland 2/202
Office (30) 727-1615
‘Home. (301) 433-4240
BEGINNING ,
‘© DATE EACH
5 WEEK MON. TUES. WED. THURS. FRI. SAT. SUN.
a ';, | @ O| © |@ 26
*
° v v <t -> ~~
ou ! o Ty
I. eo... :
3 DPASG > <<
= th, [2 © @ <|e e *
° 3 => [= \O_ NM. NM My M_
& t, - 16
cfm | (are }Oy
8 \ © 16 ae *
2 | Ay *
8 fasts
Cc
2 1%
3
6 | %, ey, 1%
a x , 18 «x It IX) @
~? “14 y \ é- : *
= M Mw Vv v €-|P Vv v
vv
S 2, @.
oO
D + Mw » xt |v + 3
1 y h y= vi = fy Vv Vv nr | na
Be
(4) NS M M KA
“hy |
3

MEDICATIONS (those used only

when headache is present; identify bs
single letter symbol). When medica

is used, these symbols are placed in
headache box and a number after them
to identify how many pills you took.

“t
i>.

KEY FOR HEADACHE INT ENSITY:

® = Severe incapacitating headache!

X = Severe headache (not incapacitating
@ = Moderate headache

O= Mild or annoying headache;

t = Shours to! day
+ = 4108 hours
$ = |to4 hours
~ = Less than | hour

++ = More than } day |
|

M = Menstrual days '

V= viWus '
HEADACHE MEDICATIONS (Taken
daily whether or not headache is present)
DO NOT symbolize or list in

headache box.

Please list below name, strength of tablet
and how you are taking it: :
#+ Beganout !

t
SPEED HEADACHE ASSOCIATES, P.A. ,

NAME: _-Anw nw Mar! E Moc En trae) Headache Consultants MEDICATIONS (those used ly

I! East Chase Street when headache is present; identify bY a
YEAR: _!1992- Baltimore, Maryland 21202 single letter symbol). When medication
Office (301) 727-1615 is used, these symbols are placed in
Home {301 433-4240 headache box and a number after them
BEGINNING to identify how many pills you took.
ipDATE EACH
<4 WEEK MON. TUES. WED. THURS. FRI. SAT. SUN.
So
N ¥, wa
ad o
w
© ' L KEY FOR HEADACHE INTENSITY
S| 4, xX p2o1@ x @ , |x @
» AA. 4 Mw + (&)= Severe incapacitating headache
Lp oS A LL X = Severe headache (not incapacitating)
Oo 4, Cx ) A @ '.. = Moderate headache
S "3 ° 3B “ A @, O= Mild or annoying headache
Oo
qd % x A * h @ Ip . KEY FOR HEADACHE DURATION
_° 28
oC
4
og

ent

Cll

woe

VoCT

]

wQOoums  -ONOOTT7 INS Do

wT

Caca
CAST

=

++ = More than | day
t = Bhours to! day
~ = 4108 hours

= 1 to 4 hours

= Less than | hour -

zie

= Menstrual days

HEADACHE MEDICATIONS (Taken

daily whether or not headache is present)

DO NOT aymbolize or list in
headache box.

Please list below name, strength of tablet
and how you are taking it:
Case 1:98-Cv-00817-JDS Document 68-30 Filed 01/10/05 Page 13 of 15

NAME: Aw

MALLE pAOGENHAD

SPEED IIEADACHE ASSOCIATES, P.A.

Headache Consultants

11 East Chase Street

YEAR: VAA\ Baltimore, Maryland 21202
Office (30) 727-1615
Home (301) 433-4240
a
WEEK MON. TUES. WED). THURS. FRI. SAT. SUN.
ali x 26 &
<—_(
1 e \ eo x B2 |x BI xX BY
q BY Qi ‘ AZ
Vow @\ 821@ n> ©
Trg Me
«K, 62 @ oO
4s t % N * M M
% @ Bly GO) 62 =)
It 1A Nw Ww WLS <-——pP
% BA\| © 7 $2 | O Orn [oxy |
J, (2 ENS* \ » x
rT ~ 63 1¢ ws lems
7 OL X A © © 4 Dp. @,
4 36 | Xp 82 , Bl @e&2) &
‘s y v A oe =" on A le
G 2s <a @
. oC
WN @< x 4 a
* “ “=
Se! x , xX
Ws 3 * <— wT - LV

MEDICATIONS (those used oni

when headache is present; identify by
single letter symbol). When medicat{«
is used, these: symbols are pla

headache box and a number after ine
to identify how many pills you took

B- BEN KORY LU 29 m9

KEY FOR HEADACHE INTENSI, .

®) = Severe incapacitating headache
X = Severe headache (not incapacita:
@ = Moderate headache

O = Mild or annoying headache

KEY FOR HEADACHE DURATION

++» = More than | day
t = 8hours to! day

+ = 410 8 hours

4 = | to 4 hours

> = Less than | hour

M = Menstrual days

HEADACHE MEDICATIONS (T:
daily whether or not headache is pre
DO NOT symbolize or list in
headache box.

Please list below name, strength of |
and how you are taking it:

nla gears SE DESoKY:
“\u q\in paki ase dC, GK Ke
‘Nao Sxov DesoxynA

Blra Herve Y.. bok
\ | yuIpEs
VW ee KASK
ALSO to? AY fe. Come
4(2 s Bye bites (Onn re)
al Boge Tate
rAm E Lo

-
Case 1:98-cv-00817-JDS Document 68-30 Filed 01/10/05 Page 14 of 15

:
J

vies NAME: fiw es enins

;

‘

SPEED HEADACHE ASSOCIATES, P.A.

Headache Consultants

-

“MEDICATIONS’ ‘(those used Aid

Fyne , I! East Chase Street when headache is present; ident
* YEAR A94I Baltimore, Maryland 21202 single letter symbol). When median
. Office (301) 727-1615 is used, these symbols are placed
pT ‘ Home {36 1} 433-4240 headache box and a number after th
BEGINNING “<" to identify how many ei ya,
DATE EACH ioe i AG
WEEK MON. THURS. FRI. SAT. SUN. aby
9 © x OL ©
30 * st
. oT. » t a xh )
to O Vs : :
: ly MM \ XA **. ®-= Severe incapacitating headache
—— x = Severe headache (not inca
Voy ty - & Le: ,Q QE Moderate headache
¥ é

to

To _ ‘headache box. °

‘10> = Mild. or annoying headache |

. EY For HEADACHE DURATI

> = More than | day
t = 8 hours to ! day
+ = 410 8 hours

4 = 1to4 hours

+> = Less than | hour

M = * Menstrual days

HEADACHE MEDI! cy
daily whether or not headache is preg.

DO NOT symbolize or list i in +

Please list below name, strength of ta!
and, how you are taking it;

16/9 Bis 2 Feed Back STARTED

NAME: ANN MOGENHAN

SPEED HEADACHE ASSOCIATES, P.A.

YEAR: \SAA1

Headache Consultants’

1! East Chase Street

io BEGINNING

— DATE EACH

WEEK MON. TUES. WED. THURS. FRI. SAT. SUN.
“Tay
1

1 Rasal tow,

1 x < < @ 26|[« 16

1p * » - n

\ x x 16 < >< & 13

fa * <— + * <

GB
le Gp “eyo * ©
Mo | Mw Se TM S M

2 &) Oo, 2 © o mes & EcealD

MN * T tT * A ——} hae ADCoLh —— >
2) westhuten 9 @ 7

NLS beatlcoun <_<
“As

Case 1:98-cv-00817-JDS Document 68-30 Filed 01/10/05 Page 15 of

Baltimore, Maryland 21202

Office (301) 727-1615
-Home (301) 433-4240

MEDICATIONS (those used anh
when headache is present; identify by ¢
single letter symbol). When medicatior
is used, these: symbols are placed ir
headache box and a number after therr
to identify how many pills you took.

KEY FOR HEADACHE INTENSITY

&) = Severe incapacitating headache

X = Severe headache (not incapacitatin,
@- Moderate headache

O = Mild or annoying headache

KEY FOR HEADACHE DURATION

+> = More than | day
t = Bhours to | day

+ = 4to8 hours

$= Ito4hours |

~~ = Less than | hour

M = Menstrual days

HEADACHE MEDICATIONS (Taken

daily whether or not headache is present)

DO NOT symbolize or tist in

__ headache box.

Please list below name, atrength of tablet
and how you are taking it:
